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0?495»59553 (RER)

lN THE UN|TED STATES D|STR|CT COURT nn iv
FOR THE WESTERN DlSTR|CT OF TENNESSEE '~’i'-*`#- ""`l"
EASTERN DlVlSION ’

 

DALE LEO and THERESA LEO
Plaintiffs.

VS. No. 1-05-1130-T/AN

WELD WHEEL lNDUSTFllES, lNC.,

WELD DISTR|BUT|ON, lNC., and
WELD RACING, lNC.

~._¢-_¢-_-»\_»-_¢-_¢-_-\-_-_-_-_-

Defendants.

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following dates Were
established as the final dates for:
lN|T|AL D|SCLOSURES (Ru|e 26(3)(1)): September 13, 2005

l\/lOT|ONS TO AMEND PLEAD|NGS AND JO|N PART[ES:

For P|aintiff: September 30, 2005
For Defendant: October 31, 2005
D|SCOVERY:

(a) REQUESTS FOR PRODUCT|ON, lNTERROGATOR|ES AND
REQUESTS FOR ADl\/llSSlONS: February 28, 2006
(i) Each party is limited to thirty (30) interrogatories

(b) EXPERT D|SCLOSURE (Ru|e 26(3)(2)):

(i) P|aintift’s Experts: January 16, 2006

(ii) Defendant’s Experts: February 16, 2006

(iii) Supp|ementation under Rule 26(e): February 27, 2006
(c) DEPOS|T|ONS: l\/larch 31, 2006

This document entered on the docket sheet ir(t` compliance
with mile 53 and:or_?s (a) FnoP on 0 C S

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(i) Each deposition is limited to a maximum of one (1) seven (7)
hour day.

(d) SUPPLEl\/|ENTATlON: Supplementation under Rule 26(e) due as
required by the Federal Rules of Civi| Procedure but no less than sixty
(60) days before the date of trial without leave of court or by
agreement of the parties

r=ir_iNe oisPosmvE notiost Aprii 24, 2006
FiNAL LisTs or= witnesses Ai\io ExHiBiTs (Ruie 26(3)(3)):

(a) for Plaintiff: June 9, 2006
(b) for Defendant: June 23, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 2 to 3 days and is SET for JURY TRIAL
beginning July 24, 2006 at 9:30 a.m. Ajoint pretrial order is due on July14,2006. ln the
event the parties are unable to agree on a joint pretrial order1 the parties must notify the
court at least ten days before trial. A pretrial conference may be scheduled upon request
of the parties.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by the
deadline for completion of discovery. For example, if the FED R. Cl\/. P. allow 30 days for
a party to respond, then the discovery must be submitted at least 30 days prior to the
deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or service of the response, answer, or objection which is the
subject of the motion if the default occurs within 30 days of the discovery deadline, unless
the time for filing of such motion is extended for good cause shown, or any objection to the
default, response, or answer shall be waived.

The parties are reminded the pursuant to Loca| Rule 7(a)(1)(A) and (a)(i)(B), all
motions, except motions pursuant to FED R. Clv. P. 12, 56, 59, and 60, shall be
accompanied by a proposed Order and a Certificate of Consu|tation.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. lf a party believes

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that a reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required

At this time, the parties have not given consideration to whether they wish to consent
to trial before the magistrate judge The parties will file a Written consent form with the
court should they decide to proceed before the magistrate judge.

The parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order Wi|l not be modified or
extended

|T lS SO ORDERED.

oATEo Thisthe 'Z_G+~L dayof Adc.w»l' ,2005.

<Sf_ldl:mias dated

S. THCjMAS ANDERSON
UN|TED STATES l\/|AG|STRATE JUDGE

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APPROVED FOR ENTRYZ

/dé/W

ussel| E. Reviere (BPR No. 07166)
Jonathan D. Stewart (BPR No. 023039)
Attorneys for Defendants
209 East lVlain Street
P.O. Box 1147
Jacl<son, TN 38302-1147

dee de eye/esa

Andrew v s'elrers (BPR Non/sse)
Waldrop & Hall, PA

Attorney for Plaintiffs

P.O. Box 726

Jackson, TN 38302

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01130 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Andrew V. Sellers
WALDROP & HALL
106 S. Liberty Street
P.O. Box 726

Jackson7 TN 38302--072

Jonathan David Stewart

RAINEY KIZER BUTLER REVIERE & BELL
209 East Main Street

Jackson7 TN 38302--114

Russell E. Reviere

RAINEY KIZER REVIERE & BELL
209 E. Main Street

Jackson7 TN 38302--114

Honorable J ames Todd
US DISTRICT COURT

